         Case 1:21-cv-00040-CJN Document 28-1 Filed 03/26/21 Page 1 of 2




                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                         )
 VOTING SYSTEMS, INC., and DOMINION                  )
 VOTING SYSTEMS CORPORATION,                         )
                                                     )
         Plaintiffs,                                 )
                                                     )
             v.                                      )     Case No. 1:21-cv-00040-CJN
                                                     )
 SIDNEY POWELL, SIDNEY POWELL,                       )
 P.C., and DEFENDING THE REPUBLIC,                   )
 INC.,                                               )
                                                     )
        Defendants.                                  )

                        DECLARATION OF EMILY CRONIN
               IN SUPPORT OF MOTION FOR ADMISSION PRO HAC VICE

       Pursuant to Local Civil Rule 83.2(d) of the United States District Court for the District of

Columbia, I, Emily Cronin, hereby declare:

       1.         My full name is Emily Cronin. I serve as counsel for plaintiffs US Dominion, Inc.,

Dominion Voting Systems, Inc., and Dominion Voting Systems Corporation.

       2.         I am an attorney practicing with the law firm of Susman Godfrey L.L.P. located at

1900 Avenue of the Stars, Suite 1400, Los Angeles, CA 90067. My telephone number is (310)

789-3100.

       3.         I am a member in good standing of the State Bar of California and am admitted to

practice in all California State Courts.

       4.         I certify that there are no pending disciplinary proceedings against me before any

bar, and I have not been disciplined by any bar in the past.

       5.         I have not previously been admitted pro hac vice in this Court.

       6.         I do not practice law from an office located in the District of Columbia.
        Case 1:21-cv-00040-CJN Document 28-1 Filed 03/26/21 Page 2 of 2




       I declare under penalty of perjury that the foregoing is true and correct. Executed on March

26, 2021.

                                                   [NEED WET SIGNATURE]
                                             Emily Cronin




                                                2
